    Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 1 of 29 Page ID #:6

                                      EXHIBIT 1

#                   Subject Photos                          Title                 Reg. Nos.
                                                 450-North-Blueberry-Muffin-
                                               Slushy-XL-Sour-Ale-4PK-16OZ-
                                                            CAN



1.                                                                              VA0002297748




                                               450-North-Herb-Jar-Slushy-XXL-
                                                    Sour-4PK-16OZ-CAN




2.                                                                              VA0002274510




                                           450-North-Slushy-XL-Cake-Badder-
                                                   Sour-16OZ-CAN



3.                                                                              VA0002316585




                                                450-North-Sticky-Icky-Buns-
                                               Slushy-XXXL-4PK-16OZ-CAN



4.                                                                              VA0002301601




                                           1
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                                        Alesmith-Kickbackrelax-Crushable-
                                                 IPA-12OZ-CAN




5.                                                                            VA0002248184




                                            Alesmith-Local-Oasis-Hazy-IPA-
                                                      12OZ-CAN



6.                                                                            VA0002226987




                                            Arrow-Lodge-Pucker-Pack-Sour-
                                                   4PK-16OZ-CAN



7.                                                                            VA0002248184




                                            Artifex-See-Ya-Later-DIPA-16OZ-
                                                          CAN



8.                                                                            VA0002212917




                                        2
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                                        Barrel-Brothers-Floating-In-A-Nost-
                                         Peculiar-Haze-DIPA-4PK-16OZ-
                                                       CAN


9.                                                                            VA0002228839




                                          Barrel-Brothers-Neighborhood-
                                        Squatch-Imperial-Stout-4PK-16OZ-
                                                      CAN


10.                                                                           VA0002291864




                                        Beachwood-Greenshift-Double-IPA-
                                               4PK-16OZ-CAN




11.                                                                           VA0002206701




                                            Beachwood-Hoptical-Telescope-
                                                  DIPA-16OZ-CAN



12.                                                                           VA0002266028




                                        3
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                                            Booze-Brothers-Spanish-Guava-
                                                 Blonde-16OZ-CAN



13.                                                                            VA0002262265




                                            Beachwood-Urban-Roots-Steely-
                                              Jam-IPA-4PK-16OZ-CAN



14.                                                                            VA0002348609




                                            B-Nektar-Punk-Lemonade-4PK-
                                                     12OZ-CAN



15.                                                                            VA0002306881




                                            Bottle-Logic-Intelligence-Check-
                                                    IPA-16OZ-CAN



16.                                                                            VA0002246750




                                        4
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 5 of 29 Page ID #:10

                                           Bottle-Logic-Into-The-Maelstorm-
                                                Stout-2022-500ML-BTL




17.                                                                            VA0002310125




                                           Bottle-Logic-Jam-the-Radar-2018-
                                                     500ML-BTL




18.                                                                            VA0002182915




                                           Bottle-Logic-Leche-Mole-Imperial-
                                                 Stout-4PK-16OZ-CAN



19.                                                                            VA0002306057




                                        Bottle-Logic-Number-Crunch-Stout-
                                                2022-500ML-BTL




20.                                                                            VA0002319022




                                       5
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 6 of 29 Page ID #:11

                                           Bottle-Logic-Recursion-IPA-4PK-
                                                      16OZ-CAN



21.                                                                          VA0002214669




                                           Bottle-Logic-Smoke-Sting-Sour-
                                                    500ML-BTL




22.                                                                          VA0002328644




                                           Brouwerij-West-8-1-2-IPA-Sabro-
                                                  4PK-16OZ-CAN




23.                                                                          VA0002214669




                                           Brouwerij-West-Apocalypse-How-
                                               Pastry-Stout-16OZ-CAN




24.                                                                          VA0002252733




                                       6
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 7 of 29 Page ID #:12

                                          Brouwerij-West-Six-Times-Six-
                                        Times-Hazy-DIPA-4PK-16OZ-CAN



25.                                                                          VA0002306881




                                        Brouwerij-West-Things-For-Your-
                                        Head-Grapefruit-Hard-Seltzer-4PK-
                                                  16OZ-CAN


26.                                                                          VA0002219500




                                           Brouwerij-West-Things-For-Your-
                                            Head-Watermelon-Hard-Seltzer-
                                                     16OZ-CAN



27.                                                                          VA0002271114




                                         Chapman-Crafted-Super-Smooth-
                                        Strawberry-Vanilla-IPA-4PK-16OZ-
                                                      CAN


28.                                                                          VA0002262265




                                       7
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 8 of 29 Page ID #:13

                                           Common-Space-Chubby-Unicorn-
                                               POG-IPA-16OZ-CAN




29.                                                                         VA0002233234




                                           Common-Space-Familiar-Friend-
                                             Pale-Ale-4PK-16OZ-CAN




30.                                                                         VA0002226987




                                           Common-Space-Food-Fight-Hazy-
                                               IPA-4PK-16OZ-CAN




31.                                                                         VA0002226987




                                           Common-Space-Fresh-Pils-Of-LA-
                                                 4PK-16OZ-CAN



32.                                                                         VA0002255222




                                       8
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                                        Coronado-Never-Better-6PK-16OZ-
                                                     CAN




33.                                                                           VA0002189963




                                           Drekker-Braaaaaaaains-Pineapple-
                                            Passionfruit-Orange-Lime-4PK-
                                                      16OZ-CAN

34.                                                                           VA0002246750




                                           Drekker-Braaaaaaaains-Raspberry-
                                                 Mango-16OZ-CAN




35.                                                                           VA0002252733




                                            Drekker-Hi-Fi-Fruit-Nightmare-
                                             Punch-Sour-4PK-16OZ-CAN




36.                                                                           VA0002328644




                                       9
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 10 of 29 Page ID #:15

                                            Drekker-Hydra-Chonk-Sundae-
                                                Sour-4PK-16OZ-CAN




37.                                                                          VA0002316585




                                        Drekker-Neon-Phenom-DIPA-4PK-
                                                  16OZ-CAN



38.                                                                          VA0002255222




                                            Drekker-Plop-Oops-All-Berries-
                                                 Seltzer-16OZ-CAN



39.                                                                          VA0002278513




                                            El-Segundo-Power-Plant-TIPA-
                                             Triple-IPA-4PK-16OZ-CAN




40.                                                                          VA0002247383




                                       10
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 11 of 29 Page ID #:16

                                            Enegren-Edel-Pils-Pilsner-4PK-
                                                     16OZ-CAN




41.                                                                          VA0002219500




                                         Enegren-Schoner-Tag-4PK-12OZ-
                                                     CAN




42.                                                                          VA0002219420




                                            Enegren-Valkyrie-German-Style-
                                             Amber-Ale-6PK-12OZ-CAN




43.                                                                          VA0002219500




                                              Equilibrium-Double-Fractal-
                                            Dragon-Curve-DIPA-4PK-16OZ-
                                                         CAN


44.                                                                          VA0002274510




                                       11
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 12 of 29 Page ID #:17

                                         Full-Circle-Calilicious-Wheat-Ale-
                                                  4PK-16OZ-CAN




45.                                                                           VA0002278513




                                            Golden-Road-Champango-12OZ-
                                                        CAN




46.                                                                           VA0002212917




                                            Great-Notion-Blueberry-Muffin-
                                                Sour-4PK-16OZ-CAN



47.                                                                           VA0002301601




                                        Great-Notion-Claim-52-Baked-And-
                                             Stuffed-4PK-16OZ-CAN



48.                                                                           VA0002255222




                                       12
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 13 of 29 Page ID #:18

                                        Great-Notion-Double-Peaches-And-
                                         Cream-Shake-Sour-16OZ-CAN




49.                                                                           VA0002289277




                                            Great-Notion-Juice-Jr-Hazy-IPA-
                                                   4PK-16OZ-CAN




50.                                                                           VA0002297748




                                        Great-Notion-Over-Ripe-IPA-With-
                                          Mangosteen-4PK-16OZ-CAN



51.                                                                           VA0002306881




                                            Great-Notion-Strawberry-Mochi-
                                                 IPA-4PK-16OZ-CAN




52.                                                                           VA0002301601




                                       13
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 14 of 29 Page ID #:19

                                        Great-Notion-Strawberry-Shortcake-
                                              Sour-4PK-16OZ-CAN




53.                                                                          VA0002266028




                                            Harland-Azacca-Citra-Hazy-IPA-
                                                   4PK-16OZ-CAN




54.                                                                          VA0002291864




                                        Harland-Pikimai-Cascade-IPA-4PK-
                                                   16OZ-CAN



55.                                                                          VA0002306881




                                         Harland-Waimea-Haze-Hazy-IPA-
                                                 4PK-16OZ-CAN



56.                                                                          VA0002212917




                                       14
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 15 of 29 Page ID #:20

                                         Henhouse-Juiced-4PK-16OZ-CAN




57.                                                                           VA0002252733




                                         Humble-Forager-Rugged-Outlook-
                                         V1-Ddh-Honey-Oat-Cream-Triple-
                                              IPA-4PK-16OZ-CAN



58.                                                                           VA0002252733




                                            J-Wakefield-Cerebral-Ventanita-
                                              Vibes-Sour-4PK-16OZ-CAN



59.                                                                           VA0002316585




                                            Kern-River-Class-V-Stout-4PK-
                                                     16OZ-CAN



60.                                                                           VA0002228839




                                       15
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 16 of 29 Page ID #:21

                                            Kern-River-Double-Chuuurch-
                                                 DIPA-16OZ-CAN




61.                                                                         VA0002197362




                                            Knee-Deep-Hoptologist-Double-
                                                  IPA-19.2OZ-CAN




62.                                                                         VA0002212917




                                         Mason-Ale-Works-Naughty-Sweet-
                                              Stout-4PK-16OZ-CAN


63.                                                                         VA0002289277




                                        Mason-Aleworks-Creative-Creature-
                                         Mcmason-Imperial-Stout-4PK-
                                                  16OZ-CAN


64.                                                                         VA0002271114




                                       16
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 17 of 29 Page ID #:22

                                            Melvin-Huckleberry-Haze-IPA-
                                                  4PK-16OZ-CAN




65.                                                                         VA0002226987




                                        Mikkeller-San-Diego-Alesmith-We-
                                         Go-Way-Back-DIPA-16OZ-CAN




66.                                                                         VA0002255222




                                         Mikkeller-San-Diego-Be-The-Ball-
                                            Sour-IPA-4PK-16OZ-CAN




67.                                                                         VA0002255222




                                        Modern-Times-Bedrock-16OZ-CAN




68.                                                                         VA0002189958




                                       17
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 18 of 29 Page ID #:23

                                            Modern-Times-Terebellum-Hazy-
                                                IPA-4PK-16OZ-CAN




69.                                                                         VA0002289277




                                             Mother-Earth-Call-Me-Ginger-
                                                     12OZ-CAN



70.                                                                         VA0002189963




                                         Mother-Earth-In-Memoriam-Hazy-
                                              IPA-4PK-16OZ-CAN



71.                                                                         VA0002291864




                                         Mother-Earth-Tierra-Madre-Lager-
                                                 6PK-12OZ-CAN




72.                                                                         VA0002219500




                                       18
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                                        Mumford-Material-Element-Pilsner-
                                                 16OZ-CAN



73.                                                                           VA0002274510




                                            Newtopia-Electric-Ritual-Cider-
                                                  4PK-16OZ-CAN



74.                                                                           VA0002310125




                                         Noble-Ale-Works-Naughty-Sauce-
                                                Stout-16OZ-CAN




75.                                                                           VA0002219420




                                            OEC-Coolship-Lager-Black-4PK-
                                                    16OZ-CAN




76.                                                                           VA0002212917




                                       19
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 20 of 29 Page ID #:25

                                         Ogopogo-Yacumama-Hazy-IIIPA-
                                                  16OZ-CAN



77.                                                                        VA0002252733




                                            Pariah-Colors-IPA-16OZ-CAN




78.                                                                        VA0002248184




                                         Pariah-Competitive-Vaping-DIPA-
                                                   16OZ-CAN




79.                                                                        VA0002197362




                                        Pariah-Tasty-Taste-IPA-4PK-16OZ-
                                                       CAN



80.                                                                        VA0002306881




                                       20
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 21 of 29 Page ID #:26

                                            Pariah-Ultraviolet-Colors-DIPA-
                                                   4PK-16OZ-CAN



81.                                                                           VA0002297748




                                            Pizza-Port-Coastal-Access-IPA-
                                                      16OZ-CAN




82.                                                                           VA0002262265




                                            Pizza-Port-Secret-Swamis-IPA-
                                                   6PK-16OZ-CAN



83.                                                                           VA0002286281




                                        Pizza-Port-Swamis-IPA-6PK-16OZ-
                                                      CAN




84.                                                                           VA0002206423




                                       21
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 22 of 29 Page ID #:27

                                         Port-15th-Anniversary-Triple-IPA-
                                                  4PK-16OZ-CAN



85.                                                                          VA0002255222




                                        Revision-Cloud-Cuddles-Hazy-IPA-
                                                 4PK-16OZ-CAN



86.                                                                          VA0002248184




                                         Revision-Depths-Of-Desire-Barrel-
                                              Aged-Stout-22OZ-BTL




87.                                                                          VA0002339571




                                            Roadhouse-Mountain-Jam-Vol-7-
                                              Hazy-IPA-4PK-16OZ-CAN



88.                                                                          VA0002271114




                                       22
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 23 of 29 Page ID #:28

                                            Sierra-Nevada-Hazy-Little-Thing-
                                                    IPA-12OZ-CAN



89.                                                                            VA0002175395




                                         Societe-Glorious-Odds-Hazy-IPA-
                                                 4PK-16OZ-CAN



90.                                                                            VA0002316585




                                             Societe-The-Pupil-12OZ-CAN




91.                                                                            VA0002214669




                                            Superstition-Bottom-Time-Mead-
                                                       16OZ-CAN




92.                                                                            VA0002246750




                                       23
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 24 of 29 Page ID #:29

                                            Superstition-Dune-Bloom-Mead-
                                                       16OZ-CAN




93.                                                                         VA0002226987




                                         Tarantula-Hill-Cali-Day-IPA-4PK-
                                                    16OZ-CAN




94.                                                                         VA0002320078




                                        Tarantula-Hill-Mango-Fosho-DIPA-
                                                 4PK-16OZ-CAN




95.                                                                         VA0002306881




                                        Tarantula-Hill-Saaahbro-IPA-16OZ-
                                                       CAN



96.                                                                         VA0002226987




                                       24
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                                         Tarantula-Hill-The-Architect-IPA-
                                                 4PK-16OZ-CAN




 97.                                                                          VA0002297748




                                         Tarantula-Hill-The-Grade-Imperial-
                                               Stout-4PK-16OZ-CAN



 98.                                                                          VA0002233234




                                            The-Brewing-Projekt-Hazelnut-
                                            Ssslurppp-Imperial-Stout-4PK-
                                                     16OZ-CAN


 99.                                                                          VA0002339571




                                            The-Brewing-Projekt-Loot-Pile-
                                                   IPA-16OZ-CAN




100.                                                                          VA0002262265




                                       25
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 26 of 29 Page ID #:31

                                             The-Brewing-Projekt-Resist-
                                            Milkshake-IPA-4PK-16OZ-CAN



101.                                                                        VA0002335541




                                         The-Brewing-Projekt-Smoofee-
                                          Imperial-Sour-Ale-Pineapple-
                                        Mango-Mandarin-And-Vanilla-4PK-
                                                   16OZ-CAN

102.                                                                        VA0002316585




                                            The-Bruery-Mischief-4PK-16OZ-
                                                        CAN



103.                                                                        VA0002240951




                                            The-Bruery-Or-Xata-4PK-16OZ-
                                                        CAN




104.                                                                        VA0002198090




                                       26
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                                            Tripping-Animals-Otters-And-Os-
                                                 Sour-4PK-16OZ-CAN



105.                                                                          VA0002266028




                                          Tripping-Animals-Who-Loves-
                                        Orange-Soda-Sour-4PK-16OZ-CAN




106.                                                                          VA0002266028




                                        Untitled-Art-Kiwi-Coconut-Mango-
                                        Smoothie-Seltzer-4PK-16OZ-CAN




107.                                                                          VA0002316585




                                         Untitled-Art-Lychee-Sherbet-Non-
                                            Alcoholic-4PK-16OZ-CAN



108.                                                                          VA0002306881




                                       27
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 28 of 29 Page ID #:33

                                              Weldwerks-Still-The-Exact-
                                            Opposite-Of-Hawaii-4PK-16OZ-
                                                        CAN



109.                                                                         VA0002252733




                                              Wild-Barrel-Blackberry-Jam-
                                            Imperial-Pastry-Sour-16OZ-CAN




110.                                                                         VA0002247383




                                        Wild-Barrel-Nectarine-Cherry-Sour-
                                              Ale-4PK-16OZ-CAN



111.                                                                         VA0002214669




                                         Wild-Barrel-Tiki-Punch-Sour-4PK-
                                                    16OZ-CAN



112.                                                                         VA0002339571




                                       28
Case 2:24-cv-00655-FLA-MAA Document 1-1 Filed 01/24/24 Page 29 of 29 Page ID #:34

                                            Wild-Barrel-Vice-Strawberry-
                                               Pineapple-16OZ-CAN



113.                                                                        VA0002286281




                                            Yoho-Sorry-Nippon-Citrus-Ale-
                                                  4PK-12OZ-CAN



114.                                                                        VA0002219500




                                       29
